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 6                          IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
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 9       United States of America,                        No. CR 19-2946-TUC-JAS (LAB)
10                    Plaintiff,                          ORDER
11       v.
12       John Milton Lee,
13                    Defendant.
14
15   DISCUSSION
16            Pending before the Court are Reports and Recommendations issued by United States
17   Magistrate Judge Bowman. The Reports and Recommendations recommend denying
18   several motions filed by Defendant.         Defendant filed objections to the Reports and
19   Recommendations.1
20            As a threshold matter, as to any new evidence, arguments, and issues that were not
21   timely and properly raised before United States Magistrate Bowman, the Court exercises
22   its discretion to not consider those matters and considers them waived. United States v.
23   Howell, 231 F.3d 615, 621-623 (9th Cir. 2000) (“[A] district court has discretion, but is not
24   required, to consider evidence presented for the first time in a party's objection to a
25   magistrate judge's recommendation . . . [I]n making a decision on whether to consider
26   newly offered evidence, the district court must . . . exercise its discretion . . . [I]n providing
27   for a de novo determination rather than de novo hearing, Congress intended to permit
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      Unless otherwise noted by the Court, internal quotes and citations have been omitted
     when citing authority throughout this Order.
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 1   whatever reliance a district judge, in the exercise of sound judicial discretion, chose to
 2   place on a magistrate judge's proposed findings and recommendations . . . The magistrate
 3   judge system was designed to alleviate the workload of district courts . . . To require a
 4   district court to consider evidence not previously presented to the magistrate judge would
 5   effectively nullify the magistrate judge's consideration of the matter and would not help to
 6   relieve the workload of the district court. Systemic efficiencies would be frustrated and the
 7   magistrate judge's role reduced to that of a mere dress rehearser if a party were allowed to
 8   feint and weave at the initial hearing, and save its knockout punch for the second round . .
 9   . Equally important, requiring the district court to hear evidence not previously presented
10   to the magistrate judge might encourage sandbagging. [I]t would be fundamentally unfair
11   to permit a litigant to set its case in motion before the magistrate, wait to see which way
12   the wind was blowing, and—having received an unfavorable recommendation—shift gears
13   before the district judge.”); United States v. Reyna-Tapia, 328 F.3d 1114, 1122 (9th Cir.
14   2003) (“Finally, it merits re-emphasis that the underlying purpose of the Federal
15   Magistrates Act is to improve the effective administration of justice.”).
16          Assuming that there has been no waiver, the Court has conducted a de novo review
17   as to Defendant’s objections. See 28 U.S.C. § 636(b)(1)(C) (“Within fourteen days after
18   being served with [the Report and Recommendation], any party may serve and file written
19   objections to such proposed findings and recommendations as provided by rules of court.
20   A judge of the court shall make a de novo determination of those portions of the report or
21   specified proposed findings or recommendations to which objection is made. A judge of
22   the court may accept, reject, or modify, in whole or in part, the findings or
23   recommendations made by the magistrate judge. The judge may also receive further
24   evidence or recommit the matter to the magistrate judge with instructions.”).
25          In addition to reviewing the Reports and Recommendations and any objections and
26   responsive briefing thereto, the Court’s de novo review of the record includes review of the
27   record and authority before United States Magistrate Judge Bowman which led to the
28   Reports and Recommendations in this case.


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 1          Upon de novo review of the record and authority herein, the Court finds Defendant’s
 2   objections to be without merit, rejects those objections, and adopts United States
 3   Magistrate Judge Bowman’s Reports and Recommendations. See, e.g., United States v.
 4   Rodriguez, 888 F.2d 519, 522 (7th Cir. 1989) (“Rodriguez is entitled by statute to de novo
 5   review of the subject. Under Raddatz [447 U.S. 667 (1980)] the court may provide this on
 6   the record compiled by the magistrate. Rodriguez treats adoption of the magistrate's report
 7   as a sign that he has not received his due. Yet we see no reason to infer abdication from
 8   adoption. On occasion this court affirms a judgment on the basis of the district court's
 9   opinion. Affirming by adoption does not imply that we have neglected our duties; it means,
10   rather, that after independent review we came to the same conclusions as the district judge
11   for the reasons that judge gave, rendering further explanation otiose. When the district
12   judge, after reviewing the record in the light of the objections to the report, reaches the
13   magistrate's conclusions for the magistrate's reasons, it makes sense to adopt the report,
14   sparing everyone another round of paper.”); Bratcher v. Bray-Doyle Independent School
15   Dist. No. 42 of Stephens County, Okl., 8 F.3d 722, 724 (10th Cir. 1993) (“De novo review
16   is statutorily and constitutionally required when written objections to a magistrate's report
17   are timely filed with the district court . . . The district court's duty in this regard is satisfied
18   only by considering the actual testimony [or other relevant evidence in the record], and not
19   by merely reviewing the magistrate's report and recommendations . . . On the other hand,
20   we presume the district court knew of these requirements, so the express references to de
21   novo review in its order must be taken to mean it properly considered the pertinent portions
22   of the record, absent some clear indication otherwise . . . Plaintiff contends . . . the district
23   court's [terse] order indicates the exercise of less than de novo review . . . [However,]
24   brevity does not warrant look[ing] behind a district court's express statement that it engaged
25   in a de novo review of the record.”); Murphy v. International Business Machines Corp., 23
26   F.3d 719, 722 (2nd Cir. 1994) (“We . . . reject Murphy's procedural challenges to the
27   granting of summary judgment . . . Murphy's contention that the district judge did not
28   properly consider her objections to the magistrate judge's report . . . lacks merit. The judge's


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 1   brief order mentioned that objections had been made and overruled. We do not construe
 2   the brevity of the order as an indication that the objections were not given due
 3   consideration, especially in light of the correctness of that report and the evident lack of
 4   merit in Murphy's objections.”); Gonzales-Perez v. Harper, 241 F.3d 633 (8th Cir. 2001)
 5   (“When a party timely objects to a magistrate judge's report and recommendation, the
 6   district court is required to make a de novo review of the record related to the objections,
 7   which requires more than merely reviewing the report and recommendation . . . This court
 8   presumes that the district court properly performs its review and will affirm the district
 9   court's approval of the magistrate's recommendation absent evidence to the contrary . . .
10   The burden is on the challenger to make a prima facie case that de novo review was not
11   had.”); Brunig v. Clark, 560 F.3d 292, 295 (5th Cir. 2009) (“Brunig also claims that the
12   district court judge did not review the magistrate's report de novo . . . There is no evidence
13   that the district court did not conduct a de novo review. Without any evidence to the
14   contrary . . . we will not assume that the district court did not conduct the proper review.”).2
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       See also Pinkston v. Madry, 440 F.3d 879, 893-894 (7th Cir. 2006) (the district court's
     assurance, in a written order, that the court has complied with the de novo review
17   requirements of the statute in reviewing the magistrate judge's proposed findings and
     recommendation is sufficient, in all but the most extraordinary of cases, to resist assault on
18   appeal; emphasizing that “[i]t is clear that Pinkston's argument in this regard is nothing
     more than a collateral attack on the magistrate's reasoning, masquerading as an assault on
19   the district court's entirely acceptable decision to adopt the magistrate's opinion . . .”);
     Garcia v. City of Albuquerque, 232 F.3d 760 (10th Cir. 2000) (“The district court's order
20   is terse . . . However, neither 28 U.S.C. § 636(b)(1) nor Fed.R.Civ.P. 72(b) requires the
     district court to make any specific findings; the district court must merely conduct a de
21   novo review of the record . . . It is common practice among district judges . . . to [issue a
     terse order stating that it conducted a de novo review as to objections] . . . and adopt the
22   magistrate judges' recommended dispositions when they find that magistrate judges have
     dealt with the issues fully and accurately and that they could add little of value to that
23   analysis. We cannot interpret the district court's [terse] statement as establishing that it
     failed to perform the required de novo review . . . We hold that although the district court's
24   decision is terse, this is insufficient to demonstrate that the court failed to review the
     magistrate's recommendation de novo.”); Goffman v. Gross, 59 F.3d 668, 671 (7th Cir.
25   1995) (“The district court is required to conduct a de novo determination of those portions
     of the magistrate judge's report and recommendations to which objections have been filed.
26   But this de novo determination is not the same as a de novo hearing . . . [I]f following a
     review of the record the district court is satisfied with the magistrate judge's findings and
27   recommendations it may in its discretion treat those findings and recommendations as its
     own.”).
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 1   CONCLUSION
 2         Accordingly, IT IS HEREBY ORDERED as follows:
 3      (1) United States Magistrate Judge Bowman’s Reports and Recommendations (Docs.
 4         98, 99, 100, 101, 102) are accepted and adopted in their entirety.
 5      (2) Defendant’s objections are rejected.
 6      (3) All of Defendant’s motions (Docs. 76, 77, 78, 79, 83) are denied.
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 8                Dated this 3rd day of December, 2021.
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